                                                                                                                                    Case 2:19-cv-02802-RSWL-SS Document 4 Filed 04/11/19 Page 1 of 1 Page ID #:27




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                                                                                                                                      7 TNG Worldwide, Inc.
                                                                                                                                      8                                     UNITED STATES DISTRICT COURT
                                                                                                                                      9                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                     10 TNG WORLDWIDE, INC., a Michigan                            Case No. 2:19-cv-2802
                                                                                                                                        Corporation,
                                                                                                                                     11                                                            CORPORATE DISCLOSURE
                                                                                                                                                     Plaintiff,                                    STATEMENT OF PLAINTIFF
                                                                                                                                     12                                                            TNG WORLDWIDE, INC
                     333 SOUTH GRAND AVENUE, SUITE 2100


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DYKEMA GOSSETT LLP
                                                          LOS ANGELES, CALIFORNIA 90071




                                                                                                                                              v.                                                   PURSUANT TO FED. R. CIV. P. 7.1
                                                                                                                                     13
                                                                                                                                        BEAUTICOM, INC., a California
                                                                                                                                     14 Corporation                                                Complaint Filed:        April 10, 2019
                                                                                                                                     15                      Defendant.
                                                                                                                                     16
                                                                                                                                     17            Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff TNG Worldwide,
                                                                                                                                     18 Inc. (“TNG”), hereby states that there is no parent corporation of TNG and no
                                                                                                                                     19 publicly-held corporation owns 10 percent or more of TNG’s stock.
                                                                                                                                     20
                                                                                                                                     21                                                        Respectfully submitted,
                                                                                                                                     22 Dated: April 11, 2019                                DYKEMA GOSSETT LLP
                                                                                                                                     23
                                                                                                                                     24                                                      By: /s/ Abi Gnanadesigan
                                                                                                                                     25                                                        Jon D. Cantor
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                                                                                                                                     26                                                        Attorneys for Plaintiff
                                                                                                                                                                                               TNG WORLDWIDE, INC.
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                                                                                                                                                                                 CORPORATE DISCLOSURE STATEMENT
